
SUAREZ, J.
In this companion case to 3D16-2523, Westchester Fire Insurance Company, LLC, appeals from a final judgment awarding attorney's fees in favor of Kesoki Painting, LLC. "The standard of review for an award of prevailing party attorney fees is abuse of discretion." Shands Teaching Hosp. &amp; Clinics, Inc. v. Mercury Ins. Co. of Florida, 97 So.3d 204, 213 (Fla. 2012). However, Westchester failed to include a hearing transcript. "Without a transcript of the hearing, our review is limited to errors appearing on the face of that judgment." Pazouhandeh v. Salgar Const. Co., 112 So.3d 151, 152 (Fla. 5th DCA 2013). We find no such errors here on the face of the trial court's detailed and well-written order. Accordingly, we affirm.
Affirmed.
